       Case 4:98-cr-00106-LGW-CLR Document 710 Filed 07/09/07 Page 1 of 1

                                                               FILED
                                                      U .S . DISTRICT COUR T
        UNITED STATES DISTRICT COURT                      SAVANNAH DIV.
       SOUTHERN DISTRICT OF GEORGIA
             SAVANNAH DIVISION                        7(D7 JUL -9 All 9: 2 4
BRUCE TOWNSEND
                                                     CLER K
V.                           402CV148                  SO. DIS T. OF GA.
                             498CR106


UNITED STATES

                   ORDE R

    The Court DENIES Bruce Townsend's
F.R.Civ .P. 60(b) motion (402CV 148 doc . # 23)
because he has unsuccessfully moved for 28
U.S .C . § 2255 relief before, doc . ## 1, 10, 16,
 18, and despite the current Rule 60(b) label he
now employs, he in fact is moving for § 2255
relief again . This he cannot do without first
obtaining permission from the Eleventh Circuit.
See, e.g., In re Nailor,     F.3d 2007 WL
1555784 at * 3 (6th Cir. 5/31/07) (motion for
relief from prior judgment denying motion to
vacate filed by federal prisoner convicted of
possession with intent to distribute cocaine base
was properly construed as a successive motion
to vacate ; defendant's Rule 60(b) motion
asserted that he could not be sentenced lawfully
under provisions that specified penalties when
the quantity of cocaine base at issue was 50
grams or more because the indictment against
him alleged only that the quantity of cocaine
base at issue was approximately 50 grams, so
that the motion either attacked the resolution of
prior motion to vacate, which raised an
ineffective assistance of counsel claim on a
similar argument, or it raised a new claim for
relief from the sentence) .

     This day of July, 2007.




SOUTHERN DISTRICT OF GEORGIA
